
673 S.E.2d 666 (2009)
STATE of North Carolina
v.
Tracey Donnell COUSIN.
No. 527P08.
Supreme Court of North Carolina.
February 5, 2009.
Tracey D. Cousin, Pro Se.
Robert Montgomery, Special Deputy Attorney General, Robert F. Johnson, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 26th day of November 2008 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 5th day of February 2009."
Upon consideration of the petition filed by Defendant on the 26th day of November 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Alamance County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 5th day of February 2009."
